                  Case 21-03893 Document 6
                                         4 Filed in TXSB on 09/16/21
                                                            08/27/21 Page 1 of 2

   B2500A (Form 2500A) (12/15)



                                      United States Bankruptcy Court
                                   Southern          District Of       Texas (Houston Division)


   In re    EPIC COMPANIES, LLC                  ,            )       Case No.    19-34752 (DRJ)

                      Debtor                                  )
                                                              )       Chapter      11

                                                              )
   Jeffrey T. Varsalone, Liquidating Trustee
                                                              )
                      Plaintiff                               )
                                                              )
                                                                                         21-03893
                      v.                                      )       Adv. Proc. No.
                                                              )
    Central Boat Rentals, Inc.                                )
                      Defendant                               )


                                 SUMMONS IN AN ADVERSARY PROCEEDING

   YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to
   this summons with the clerk of the bankruptcy court within 30 days after the date of issuance of this
   summons, except that the United States and its offices and agencies shall file a motion or answer to the
   complaint within 35 days.

                      Address of the clerk:    Nathan Ochsner
                                               Clerk of Court
                                               P. O. Box 61010
                                               Houston, Texas 77208

   At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

                      Name and Address of Plaintiff's Attorney:       Eric M. English
                                                                      Porter Hedges LLP
                                                                      1000 Main St., 36th Fl
                                                                      Houston, TX 77002
                                                                      (713) 226-6000
   If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.


   IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED
   TO BE YOUR CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT
   AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
   DEMANDED IN THE COMPLAINT.


                                                                           Nathan(Clerk
                                                                                  Ochsner, Clerk
                                                                                        of the   of Court Court)
                                                                                               Bankruptcy

            Date:                                     By:                                 (Deputy Clerk)
Date: August 27, 2021
                                                                            s/ H. Lerma
                                                                            Signature of Clerk or Deputy Clerk
              Case 21-03893 Document 6
                                     4 Filed in TXSB on 09/16/21
                                                        08/27/21 Page 2 of 2

B2500A (Form 2500A) (12/15)



                                           CERTIFICATE OF SERVICE

       I, Eric M. English                   (name), certify that service of this summons and a copy of
the complaint was made August 27, 2021               (date) by:
              Mail service: Regular, first class United States mail, postage fully pre-paid, addressed
       x
              to:




       x
              Personal Service: By leaving the process with the defendant or with an officer or agent
               of defendant at:
                Central Boat Rentals, Inc.
                c/o J. Stephen Simms
                Simms Showers LLP
                201 International Circle, Ste. 250
                Hunt Valley, Maryland 21030
              Residence Service: By leaving the process with the following adult at:



              Certified Mail Service on an Insured Depository Institution: By sending the process by
               certified mail addressed to the following officer of the defendant at:



              Publication: The defendant was served as follows: [Describe briefly]



              State Law: The defendant was served pursuant to the laws of the State of               , as
               follows: [Describe briefly]



         If service was made by personal service, by residence service, or pursuant to state law, I further
certify that I am, and at all times during the service of process was, not less than 18 years of age and
not a party to the matter concerning which service of process was made.

       Under penalty of perjury, I declare that the foregoing is true and correct.


       Date    8/27/2021                   Signature    /s/ Eric M. English


                Print Name:                            Eric M. English

                                                       1000 Main St., 36th Floor
                Business Address:

                                                       Houston, Texas 77002
